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October 13, 2021
                                                                                   Norton Rose Fulbright US LLP
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Hon. Lorna G. Schofield                                                            Direct line +1 212 318 3046
U.S. District Judge                                                                nandini.rao@nortonrosefulbright.com
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Re:         Hughes v. Jeffrey Beers International LLC et al
            Case No.: 21-cv-2974 (LGS)


Dear Judge Schofield:

We represent Defendants and write jointly with Plaintiff’s counsel to provide an update regarding
the status of the settlement in this matter. The parties have exchanged drafts of a settlement
agreement, which includes an intellectual property license that the parties have negotiated over
the past few weeks. Now that the terms of the license have been agreed upon, Plaintiff has
twenty-one (21) days to consider the agreement per New York law and, assuming she does not
revoke her signature, Defendants have fourteen (14) days after the expiration of the 21-day
revocation period to issue payment. Accordingly, the parties anticipate consummating settlement
and finalizing payment by the week of November 22, 2021 and will file a stipulation of dismissal
once settlement has been finalized. Given these circumstances, we ask that the thirty (30) day
deadline provided for in the Court’s Order dated September 17, 2021 be extended for an
additional forty-five (45) days to provide sufficient time for the Parties to consummate the
Settlement Agreement.

Respectfully submitted,

/s/ Nandini Rao
Nandini Rao


cc (via ECF): Ralph Dawson, Esq.
              Jesse Rose, Esq.




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